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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF CALIFORNIA

THE McCARTY COMPANY, INC.,
NO. CIV. S-01-158 LKK/JFM
Plaintiff,
Vv. O R DER
UNITED STATES OF AMERICA,

Defendant.

 

 

Plaintiff brings this action against the United States to
challenge the Notice of Determination of the Internal Revenue
Service’s Appeals Office pursuant to 26 U.S.C. §§ 6320 & 6330.
This matter is before the court on defendant’s motion for summary
judgment, the standard for which is well-known and need not be
repeated here. See Rodgers v. County of Yolo, 889 F. Supp. 1284
(E.D. Cal. 1995).

The court reviews IRS determinations from collection due
process hearings for abuse of discretion where the amount of tax

liability was not in dispute at the hearing. TKK Management v.

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United States, 2000 WL 33122706 (C.D. Cal. 2000) (citing H. Conf.
Rept. No. 105-599, at 266 (1998)). While plaintiff now challenges
the amount of penalties and interest assessed, it did not do so at
the hearing. See 26 U.S.C. § 6330(b) (3). Accordingly, the court
reviews the decision of the appeals officer for abuse of
discretion.

Plaintiff owes the IRS more than $2,000,000 in back taxes,
including penalties and interest.* As a result, the IRS filed both
a federal tax lien and a levy notice against plaintiff's assets.
At the collection “due process” hearing, the appeals officer agreed
to withdraw the tax lien on the condition that plaintiff enter into
an agreement to pay, secured by an irrevocable letter of credit or
a bond, and to stay current with tax deposits for the year 2000.
Plaintiff failed to satisfy these conditions. Thus, the appeals
officer concluded that the recorded lien was necessary to protect
the government’s interest in collecting plaintiff’s outstanding

taxes.

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1 Plaintiff failed to pay its back taxes even after repeated

warnings by the IRS. At the time of the hearing, plaintiff was
late with every payment of its Form 943 taxes since 1994.
Plaintiff made no deposits of its Form 941 taxes for the four
quarters of 1998, the four quarters of 1999, and the two quarters
in 2000 that were due at the time of the hearing. See Complaint,
Exh. F at attached Exh. A.

While plaintiff made timely deposits of its Form 940 taxes in
1997, it failed to make such tax payments for 1998. As a result,
between 1994 and 1999, plaintiff was assessed penalties totaling
almost $500,000 for not making tax deposits, and an additional
$500,000 in interest and late payment penalties. See Complaint,
Exh. F at attached Exh. A.

 
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Plaintiff argues that the appeals officer’s determination was
an abuse of discretion because he failed to consider the company’s
hardship before imposing the lien. I cannot agree.

Under the tax code, an appeals officer must consider the need
for the efficient collection of taxes with the legitimate concern
of the taxpayer, and ensure that the action is no more intrusive
than necessary. See 26 U.S.C. § 6330(c) (3). At the hearing,
plaintiff requested that the lien be withdrawn, arguing that Wells
Fargo had prior rights and could foreclose on plaintiff’s loans
resulting in the foreclosing on the company’s assets and closure
of its business. See Complaint, Exh. F, at 4. In response the
appeals officer agreed to withdraw the tax lien if plaintiff
satisfied the conditions explicated above. While hardly a generous
offer, there was an effort on the appeals officer’s part to permit
the company to remain viable while protecting the government’s
interests. When plaintiff was unable to meet the conditions, the
appeals officer concluded that the lien was necessary in light of
the company’s continuing history of “procrastination and broken
commitments” and its continual accrual of taxes. See Complaint,
Exh. F, at 7. The court concludes that the appeals officer acted
within his discretion to prevent the future accrual of taxes, even
if the decision ultimately results in the IRS recovering none of
plaintiff’s assets. It seems clear to the court that the IRS is
not required to, in effect, involuntarily finance plaintiff's

business by deferring collection of taxes which were due.

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Next, plaintiff argues that the appeals officer abused his
discretion by failing to take into consideration its alternate
proposal to pay its back taxes. The appeals officer is required
to consider collection alternatives, which may include the posting
of a bond, the substitution of other assets, or an installment
agreement. See 26 U.S.C. § 6330(c) (2) (A) (111). As stated, the
appeals officer did consider plaintiff’s initial proposal. When
plaintiff failed to secure a letter of credit it proposed to make
its tax payments based on an “expected” grant from the Farm Service
Agency and “anticipate[d]” loans from the federal government. See
Decl. Norma Schrock, at Exh. 14. The appeals officer found that
such a proposal lacked substance. The appeals officer concluded
that the IRS could not accept its alternate proposal given
plaintiff’s long history of tax delinquency, its proposed payment
plan’s lack of specificity, and its inability to provide the
requested security through a collateral agreement or bond. AJP
Management v. United States, 2000 WL 33122693 (C.D. Cal. 2000);
Kitchen Cabinets v. United States, 2001 WL 237384 (N.D. Tex. 2001).
Under the circumstances, that determination was within the appeals
officer’s discretion.

For the foregoing reasons, the court concludes that the
appeals officer’s determination was not an abuse of discretion.
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Accordingly, the court GRANTS defendant’s motion for summary
judgment? and the Clerk is directed to CLOSE the case.
IT IS SO ORDERED.

DATED: December 18, 2001.

    
   
   
 

 

/ *LANRENCE
\ SENIOR JUD

UNITED STAT DISTRICT COVRT

 

 

2 At oral argument, plaintiff’s counsel asserted that the

court should follow the decision in Mesa Oil, Inc. v. United
States, 2000 WL 1745280 (D. Colo. 2000), and remand this matter to
the appeals officer. In Mesa, the court found that the appeals
officer’s determination was inadequate because it had “no statement
of facts, no legal analysis, and no explanation of how or why the
proposed levy balanced the need for collection with Mesa’s
interests.” Id., at *4. The court concluded that the appeals
officer’s “sparse determination” demonstrated that the “proposed
collection action was approved solely because the IRS showed that
it had followed appropriate procedures,” and thus had to be
remanded. Id. Here, the appeals officer's determination contains
a detailed factual history, demonstrates a consideration of the
appropriate issue, demonstrates application of the requisite
balancing test and explicates why the lien was necessary. Mesa is
clearly distinguishable from the matter at issue.

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United States District Court
for the
Eastern District of California
December 20, 2001

* * CERTIFICATE OF SERVICE * *
2:01-cv-00158

McCarty Company
Vv.

USA

 

I, the undersigned, hereby certify that I am an employee in the Office of
the Clerk, U.S. District Court, Eastern District of California.

That on December 20, 2001, I SERVED a true and correct copy(ies) of

the attached, by placing said copy(ies) in a postage paid envelope
addressed to the person(s) hereinafter listed, by depositing said
envelope in the U.S. Mail, by placing said copy(ies) into an inter-office
delivery receptacle located in the Clerk’s office, or, pursuant to prior
authorization by counsel, via facsimile.

Jason William Harrel SJ /LKK
Richard S Calone Incorporated
1810 Grand Canal Boulevard CF/JFM

Suite Six
Stockton, CA 95207

Norma J Schrock

US Department of Justice
Tax Division

PO Box 683

Ben Franklin Station
Washington, DC 20044

Jack L. Wagner, Clerk

BY: .
Deputy Cle
